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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

                                             )
 IN RE: NATIONAL PRESCRIPTION                )
        OPIATE LITIGATION                    )
                                             )
        This document relates to:            )
                                             )
The County of Summit, Ohio, et al. v. Purdue )
                                                      MDL No. 2804
            Pharma L.P., et al.              )
          Case No. 18-op-45090               )   Hon. Judge Dan A. Polster
                                             )
                   and                       )
                                             )
The County of Cuyahoga v. Purdue Pharma )
                L.P., et al.                 )
         Case No. 1:18-op-45004              )
                                             )

MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO EXCLUDE LACEY
         KELLER’S OPINIONS AND PROPOSED TESTIMONY
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         Plaintiffs’ expert Lacey Keller is a data analyst with training in economics who concedes

that she has no substantive experience or expertise in the Controlled Substances Act, the DEA, or

the federal regulations governing suspicious order monitoring. Ex. 1, Keller Tr. 48:3-50:13.

Nevertheless, Keller applies 16 “compliance metrics,” i.e., various suspicious order monitoring

algorithms, to certain IQVIA 1 and chargeback data 2 to identify what she deems “suspicious

orders,” even though she admits that she used the term differently than it is used in the CSA and

related DEA regulations. Specifically, Ms. Keller purports to calculate: (1) how many

prescriptions supposedly could have been identified by Manufacturer Defendants through IQVIA

data (the “Prescriber” opinion); and (2) how many orders of opioid medications supposedly

could have been identified through chargeback data (the “Chargeback” opinion). Keller

concludes that “there were millions of prescriptions and purchases of billions of dosage units and

MMEs in Cuyahoga and Summit counties that defendant manufacturers of opioids . . . could

have identified as being of unusual size or frequency and deviating from the normal pattern yet

were unreported.” Ex. 2, Keller Rep. ¶ 27; see also Ex. 1, Keller Tr. 88:13-22, 90:10-17, 96:9-

17.

         In addition, in her separate “Small Labeler Impact” opinion, Keller applies a variation of

her Prescriber analysis to Janssen—which has a minuscule market share she calculated as

between 0.1 to 0.9 percent in the Track One jurisdictions. She purports to calculate how many

opioid prescriptions could have been stopped if Janssen had reported the activity of prescribers


1
  Keller describes the IQVIA Xponent® data she used as “data from a representative sample of pharmacies, mail
order services, and long term care facilities. The dataset, owned and maintained by IQVIA—a healthcare
information company—is used by industry ‘to measure market and product demand.’ On the company’s website,
IQVIA describes the data as being used for tracking product demand over time, formulating ‘competitive sales
strategies,’ and developing a further understanding of pharmaceutical distribution.” Ex. 2, Keller Rep. ¶ 160
(footnotes omitted).
2
 Keller describes chargeback data as “requests submitted by distributors to labelers to protect distributors from
profit loss when drugs are sold to a buyer at less than the distributor paid the labeler for them.” Id. at ¶ 33.



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flagged by monitoring IQVIA data for all manufacturers’ opioid medications. She concludes

that “Janssen could have stopped up to 15% of all prescriptions written in Summit and Cuyahoga

counties between 1997 and 2017, depending on which compliance metric it used.” Id. ¶ 116.

       In another separate “Mallinckrodt Opinion,” Ms. Keller seeks to “trace” shipments by

distributors to pharmacies in Cuyahoga County and Summit County to certain orders that

distributors placed to Mallinckrodt that were identified by Mallinckrodt’s internal algorithm as

“peculiar.” Ms. Keller attempts to do so by using chargeback data to identify shipments by a

distributor of a particular product to pharmacies in Cuyahoga or Summit County that occurred

within 30 days of that distributor placing a “peculiar” order with Mallinckrodt. She states that

“[w]ith chargeback data, Mallinckrodt was able to see where peculiar orders went,” and

concludes that 2,860 “peculiar transactions” were shipped by a distributor to Cuyahoga County

or Summit County. Id. ¶ 158. Keller’s opinions, however, are untethered to the questions the

jury must answer and the facts, based on unreliable methodologies and data, and should be

excluded for several reasons.

       First, Keller’s methodology for identifying and analyzing what she calls suspicious

orders does not satisfy Daubert. Keller repeatedly admitted that her use of the term “suspicious

orders” was not the same as that term of art under the Controlled Substances Act—she instead

used it merely to indicate that certain data had “triggered one of the metrics” she had applied.

Ex. 1, Keller Tr. 51:6-52:15. Keller admittedly offers no opinion about whether any of these

orders was actually suspicious as defined by the CSA or whether any of these orders should have

been reported to the DEA. Id. at 51:6-52:15, 55:23-56:19. And Keller’s analysis is entirely

divorced from the real-world due diligence conducted by Manufacturer Defendants after any

given order was flagged by an algorithm, which is a necessary second step to determining




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whether an order is suspicious and must be withheld and reported to DEA. As a result, Keller’s

analysis of flagged orders is of no use to the factfinder in determining whether or not certain

orders were suspicious under the CSA and instead will only confuse and mislead them.

       Second, Keller’s Small Labeler Impact opinion is based on the false and unsupported

assumption that a physician would have been instantaneously reported to law enforcement and

stopped from prescribing another medication ever again immediately after the first time Janssen

flagged an order as “suspicious” using any one of Keller’s algorithms. Keller’s analysis

disregards the undisputed evidence in this case that such a thing has never happened and is, in

fact, impossible in practice. Keller herself admitted that this opinion is entirely hypothetical and

does not take into account any evidence in the case or what might actually occur in reality.

       Third, the IQVIA data set underlying Keller’s Prescriber and Small Labeler Impact

analysis is fundamentally unreliable, because it is undisputed that the IQVIA data set purchased

in 2018 by Allergan for purposes of this litigation is static, meaning that it does not reflect the

IQVIA data that actually existed at any given moment in time between 1997 and 2018.

       Finally, Keller’s Mallinckrodt Opinion relies on unsupported assumptions. Keller

attempts to trace product sold by distributors to pharmacy customers back to orders placed by

those distributors to Mallinckrodt. To do so, Keller simply assumes—based on no facts or

evidence—that if Mallinckrodt identified an order from a distributor as “peculiar” as part of its

internal review, any bottles of the same product sold by that distributor to pharmacies within 30

days were somehow part of the earlier peculiar order to Mallinckrodt. Ex. 2, Keller Rep. ¶ 158;

Ex. 1, Keller Tr. 351:17-22, 393:3-394:15. That assumption is both speculative and false.




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           For all these reasons, Keller’s Opinions fail 3 under Daubert. 4

           I.      LEGAL STANDARD

           The Court has a duty to act as a “gatekeeper” for expert testimony by ensuring that it

“both rests on a reliable foundation and is relevant to the task at hand.” Daubert v. Merrell Dow

Pharm., Inc., 509 U.S. 579, 597 (1993). “An expert who presents testimony must ‘employ[] in

the courtroom the same level of intellectual rigor that characterizes the practice of an expert in

the relevant field.’” Best v. Lowe’s Home Ctrs., Inc., 563 F.3d 171, 177 (6th Cir. 2009). “Expert

testimony which does not relate to any issue in the case is not relevant and, ergo, non-helpful.”

Daubert, 509 U.S. at 591. In other words, to qualify for admission, expert testimony must relate

to issues “properly before the jury.” Olsen v. American S.S. Co., 176 F.3d 891, 894-97 (6th Cir.

1999) (exclusion of expert testimony on doctor’s negligence where that issue was not “presented

at trial”). “Expert testimony may not be based on mere speculation, and assumptions must be

supported by evidence in the record.” Rose v. Truck Centers, Inc., 388 F. App’x. 528, 535 (6th

Cir. 2010) (citations omitted); McLean v. 988011 Ontario, Ltd., 224 F.3d 797, 800-01 (6th Cir.

2000). When “facts upon which the expert bases [her] testimony contradict the evidence,” that

“testimony … is inadmissible.” Greenwell v. Boatwright, 184 F.3d 492, 497 (6th Cir. 1999).

           Further, an expert’s testimony is inadmissible if it fails Rule 702’s “fit” requirement. “Fit

requires that the proffered testimony must in fact assist the jury, by providing it with relevant

information, necessary to a reasoned decision of the case.” Yarchak v. Trek Bicycle Corp., 208

F. Supp. 2d 470, 496 (D.N.J. 2002). To “fit” the case and be admissible under Rule 702, the


3
    This Motion encompasses both Keller’s Report and Supplemental Report.
4
  On June 10, 2019, Insys Therapeutics, Inc. and its affiliates each filed a voluntary case under chapter 11 of United
States Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware, which cases are being
jointly administered under Case No. 19-11292 (KG). In light of this bankruptcy proceeding, Insys does not join any
of the Daubert motions or summary judgment motions to be filed in the MDL Track One cases. Separately,
Defendant Noramco, Inc. does not join this motion either.



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opinion must help the jury “determine a fact in issue. This condition goes primarily to

relevance.” Daubert, 509 U.S. at 591. “Fit” is an issue for consideration at this stage, for it is a

“precondition to admissibility” rather than a question of weight. Hutchison v. Parent, No. 3:12-

cv-320, 2015 WL 1914794, at * 3 (N.D. Ohio Apr. 27, 2015). As such, an expert opinion must

also be excluded if it does not assist the triers of fact in performing their duty. Fed. R. Evid. 702.

       Finally, “consideration of Rule 403 is included in the Daubert analysis,” United States v.

LaVictor, 848 F.3d 428, 444 (6th Cir. 2017), cert. denied, 137 S. Ct. 2231 (2017), and under

Rule 403, “[t]he court may exclude relevant evidence if its probative value is substantially

outweighed by a danger of one or more of the following: unfair prejudice, confusing the issues,

misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence.”

United States v. Collins, 799 F.3d 554, 588 (6th Cir. 2015). “Expert evidence can be both

powerful and quite misleading because of the difficulty in evaluating it,” Daubert, 509 U.S. at

595 (quoting Weinstein, Rule 702 of the Federal Rules of Evidence is Sound, 138 F.R.D. 631,

632 (1991)), as the “aura of reliability” surrounding some evidence presents “the prospect of a

decision based on the perceived infallibility of such evidence.” United States v. Bonds, 12 F.3d

540, 567-68 (6th Cir.1993).

II.    ARGUMENT

       A.      Keller’s Method for Identifying Flagged Orders Is Unreliable and Would
               Mislead Rather Than Assist the Jury.

               1.      No Competent Evidence Indicates That the Criteria Applied by Keller
                       Actually Identify “Suspicious Orders” Under the CSA.

       Keller identifies flagged orders that Plaintiffs will purportedly (but, to date, have not)

argue should be deemed “suspicious” orders that Manufacturer Defendants could have flagged,

withheld, and reported. But Keller’s opinions cannot support such a conclusion and do not meet

the requirements of Daubert because she merely identifies flagged orders, i.e., anything that hit


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on any of the 16 algorithms run across IQVIA and chargeback data. Keller herself admits that

her “flagged” orders indicate only that those orders triggered one of the algorithms she applied,

which is not the same meaning as the term “suspicious” used in the CSA. 5 Although the

usefulness of Keller’s analysis rises and falls on whether her methodology reliably identifies

“suspicious orders” within the meaning of the Controlled Substances Act, she herself admits that

it does not. Ex. 1, Keller Tr. 51:6-52:15; 55:23-56:19; 111:12-112:3; 146:5-9; 148:6-14; 210:7-

13; 210:21-211:7.

         Indeed, none of Plaintiffs’ experts, nor any DEA witness, has testified that the fact that an

order triggers any of these 16 algorithms means the order is “suspicious” under the CSA. 6 And

Keller testified that she cannot opine as to whether any manufacturer should have used some or

all of her algorithms as part of a suspicious order monitoring system, id. 50:14-51:5, whether any

order identified by those algorithms should have been reported to the DEA, id. 55:23–56:19, or

whether any such order was “suspicious” within the meaning of the Controlled Substances Act

(or DEA’s interpretation of the CSA), id. 51:6–52:15; see also id. 238:12-17. Because Keller is

not deciding what should have been flagged as “suspicious” under the CSA—the foundation of

Plaintiffs’ diversion-based claims 7—she does not offer anything that would be remotely helpful



5
  Ex. 1, Keller Tr. 52:6-15 (“Q. You don’t mean to use “suspicious” as a technical term meaning suspicious under
the Controlled Substances Act, right? … A. Yes, when I say ‘suspicious,’ I mean that they have…triggered one of
the metrics”).
6
 See, e.g., Ex. 3, Rafalski Report at 12-13 (“Beyond requiring that a distributor must employ some Suspicious Order
Monitoring System (“SOMS”), the federal regulations do not make explicit exactly what algorithm(s) the SOMS
must use to identify suspicious orders...”); Ex. 6, Prevoznik Tr. 180:3-11 (“Q. And there’s no single feature that
makes a suspicious order monitoring system compliant, correct? A. Correct.”); Ex. 7, Prevosnik Tr. 1211:9-18 (“Q.
But standing alone, without follow-up due diligence, it is not necessarily always possible to determine whether an
order that is an unusual size, unusual pattern or frequency is, by itself, for that reason, indicative of diversion,
correct?… THE WITNESS: Correct.”).
7
  See, e.g., TAC ¶¶ 498-500; see also Pls’ Mot. for Partial SJ of Defs’ Duties Under the CSA, Dkt. No. 1719
(“Plaintiffs have asserted several claims for which the Defendants’ compliance with the CSA is relevant, including
claims under the federal Racketeer-Influenced and Corrupt Organizations (‘RICO’) Act, Ohio’s parallel RICO
statute, and Ohio’s absolute public nuisance law.”).



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to the jury in determining whether a registrant failed to monitor and report a suspicious order

under that statute.

         Keller’s methods are also flawed because she applies the same 16 algorithms to six

different corporate groups of defendants manufacturing and/or selling different products, without

regard to whether any of the defendants actually applied any of the algorithms. 8 DEA

representatives and Plaintiffs’ own DEA expert testified that a company’s suspicious order

monitoring program must be tailored to its particular business model and medications. 9 Even if a

particular criterion is used by one manufacturer for its own internal analysis, there is no reason to

believe that such a metric would be appropriate for another manufacturer.

         Untethered to the statutory standard that is the foundation of Plaintiffs’ diversion-based

claims as well as any relevant evidence, Keller’s opinions would affirmatively mislead and

confuse the jury rather than help them decide any disputed issue in the case. They are

inadmissible under Rule 702, Daubert, and Rule 403, and should be excluded on this basis alone.

                  2.       Keller’s Algorithm Does Not Consider Due Diligence Conducted After
                           Algorithmic Flagging of Certain Orders.

         As DEA representatives repeatedly testified, an order flagged as possibly suspicious may

be determined through due diligence not to be suspicious, and therefore need not be reported to

DEA. 10 Keller’s purely mathematical model, however, fails to account for the due diligence


8
 Further, for at least the Janssen defendants, Keller failed to apply, compare, or even reference the algorithm
Janssen actually did apply. Ex. 1, Keller Tr. 213:25-215:10 (admitting that she did not apply Janssen’s algorithm
and that her counsel (incorrectly) advised her it did not exist).
9
  See, e.g., Ex. 6, Prevoznik Tr. 180:3-11 (“Q. And there’s no single feature that makes a suspicious order
monitoring system compliant, correct? A. Correct. Q. And the DEA leaves it up to the registrant to design a system
that works with its own business model and customer base, correct? A. Correct.”); Ex. 9, Rannazzisi Tr. 420:13-21
(“Q. All right. So it’s a business decision based upon, I guess it might be different for a manufacturer than a
distributor than a seller, et cetera? … [A]: Yes.”); Ex. 4, Rafalski Tr. at 57:15-58:4, 58:19-59:11, 155:7-156:10, Ex.
5, Rafalski Tr. Vol. 2 447:20-449:5, 484:9-13.
10
  See Ex. 7, Prevosnik Tr. 1211:9-18 (“Q. But standing alone, without follow-up due diligence, it is not necessarily
always possible to determine whether an order that is an unusual size, unusual pattern or frequency is, by itself, for
that reason, indicative of diversion, correct?… THE WITNESS: Correct.”); Ex. 8, Rannazzisi Tr. 326:5-11 (“A. …


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used to determine whether a flagged order is suspicious. Indeed, Keller admitted that she has

“no opinions on the real world,” Ex. 1, Keller Tr. at 57:19-25; see also id. 59:12-20, 154:6-20,

and she “didn’t look at . . . how each order was processed, monitored, flagged, unflagged or

released, et cetera.” Id. at 236:5-15. Indeed, Keller did not undertake to determine whether any

transaction was actually suspicious, following due diligence or otherwise. Id. at 155:21-156:7.

            Keller’s failure to account for this fundamental aspect of suspicious order monitoring

renders her methods unreliable. Even Plaintiffs’ experts and the DEA agree that due diligence is

a critical component of the suspicious order monitoring process, as several DEA witnesses

testified, because orders that may trigger an algorithm or appear unusual at first glance may (and

often do) turn out to be perfectly legitimate once diligence is complete. 11 Keller’s opinion tells

only a small part of the story and, without accounting for the remainder of the suspicious order

analysis, is not helpful and likely to mislead the jury.

            B.          Keller’s Method for Counting Orders That Supposedly Could Have Been
                        Stopped Despite Janssen Being a “Small Labeler” Is Unreliable.

            Keller also purports to model what would have happened if a so-called “small labeler”

like Janssen—which she calculates had a market share of between 0.1 percent and no more than

0.9 percent in Summit and Cuyahoga Counties, see Ex. 1, Keller Tr. 221:22-222:5—had reported

to the DEA the prescriptions she flags by running her 16 algorithms across IQVIA data. 12 As an




You might have the greatest system in the world but if you are not following your own protocols, if you are not
looking at each individual order that the system kicks out, doing due diligence, maintaining effective controls
against diversion, then the system is worthless”) (emphasis added); Ex. 10, K. Wright Tr. 142:16-25 (“It’s quite
possible that, upon further investigation, the registrant could resolve the question of whether [a possible suspicious
order] is suspicious and make the decision to go ahead and ship[.]”); Ex. 7, Prevoznik Tr. 1038:22-1039:8
(confirming that due diligence is necessary to overcome the limitations of ARCOS data).
11
     See n. 7, supra.
12
  Ex. 2, Keller Rep. ¶ 34 (“if Janssen – the defendant labeler with the second smallest market share in Summit and
Cuyahoga counties – had reported suspicious activity, prescriptions for millions of dosage units could have been
stopped in Summit and Cuyahoga counties”); see also id. at ¶¶ 114-116.



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initial matter, this analysis is unreliable for the same reasons identified in the preceding section:

Nothing supports the notion that the prescriptions Keller flagged were actually suspicious as the

CSA and its implementing regulations and DEA define that term. Ex. 1, Keller Tr. 51:6-52:15.

       But the Small Labeler Impact Opinion is additionally unreliable due to yet another false

assumption, namely, that each prescriber would have been stopped from prescribing all opioids

immediately after his or her first prescription was reported to law enforcement and

immediately after being flagged by any of Keller’s 16 criteria. Id. at 231:12-232:11; 261:1-

262:11. Keller has no expertise in how this might happen, id. at 60:3-9, 257:16-25, and admitted

that she has no reason to believe her instant-stop assumption is correct, id. at 232:12-18. And in

fact, Keller’s assumption is plainly erroneous and has absolutely no basis in the evidence or

reality: Fewer than 1 percent of suspicious order reports lead to the revocation of a prescriber’s

DEA license (which authorizes the prescription of opioid medications), Ex. 11, Holifield Rep. at

40-42, and even those rare revocations are not instantaneous. Any diversion investigation by the

DEA or law enforcement takes significant time, as Keller’s own report admits. See Ex. 2, Keller

Rep. ¶ 96 (detailing two-year investigation into flagged prescriber); Ex. 1, Keller Tr. 256:23-

257:10 (acknowledging two-year investigation from report).

       Given her entirely unsubstantiated assumptions and repeated admissions that her opinion

is hypothetical and has no basis in the real world, see e.g., Ex. 1, Keller Tr. 57:19-25; 226:17-22;

259:19-260:11; see also 229:22-230:12; 232:12-18; 257:16-259:3, Keller’s estimates of how

many orders would have been stopped by the Janssen Defendants’ reporting are wildly inflated,

unreliable, and will only mislead the jury. Keller should not be permitted to give these inflated

numbers a veneer of reliability by means of her expert testimony at trial. Bonds, 12 F.3d at 567-

68.




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       C.      Keller’s Prescriber and Small Labeler Opinions Based on IQVIA Data Are
               Inadmissible Because the IQVIA Data Set Is Not Reliable.

       Keller’s opinions based on the IQVIA data are unreliable for additional reasons, both

because of how the firm IQVIA maintains its data and because of how Keller incorporated that

data in her analysis. Keller’s opinions based on IQVIA data are thus inadmissible.

       For an expert’s opinion to be admissible, the data underlying her opinion must be

reliable. An expert’s opinion “fail[s] the reliability requirements of Daubert and the Federal

Rules of Evidence” where “the underlying data” on which the expert relies is “not sufficiently

reliable.” ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 291-95 (3d Cir. 2012) (affirming

exclusion of expert’s damages calculation where expert “was unaware of the qualifications of the

individuals who prepared the document” on which he relied “or the assumptions on which the

estimates were based”); see also Spangler Candy Co. v. Tootsie Roll Industries, LLC, 372 F.

Supp. 3d 588, 596 (N.D. Ohio 2019) (excluding portion of expert report where expert “was

unable to attest to [the] reputation” of sources relied upon, and “did not verify the underlying

data and methodology used to reach conclusions upon which he relie[d]”).

       As an initial matter, Keller had no basis to know whether any manufacturer actually had

in its possession the same IQVIA data she used, which Allergan purchased from IQVIA in 2018

for this litigation. Ex. 1, Keller Tr. 102:12-103:7; 104:9-105:19. Keller testified that she

assumed that Manufacturer Defendants “could have purchased” IQVIA data for the twenty-year

period her report spans. Id. Keller offers no basis for concluding Manufacturer Defendants had

an obligation to acquire IQVIA data for use in their suspicious order monitoring programs.

       Even more fundamentally, however, the use of IQVIA data in Keller’s analysis is flawed

because of the way that data works and how it is maintained: Instead of being a static set of data

for each calendar year, IQVIA data is dynamic, changing year to year to reflect changes in the



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landscape of information it encompasses. Ex. 12, Dec. 14, 2018 Letter from J. Davis to P.

Weinberger, at 2. As IQVIA reported and defense counsel relayed to Plaintiffs, IQVIA “does

not maintain historical order information for past opioid-related purchases in the ordinary course

of business or copies of historic data deliverables given the overwhelming quantity of such data

and the associated storage costs,” and “any attempt to repopulate data [would] require writing

new business rules and making educated assumptions, but can in no way reflect the precise

deliverables that each Defendant previously received.” Id. 13 Thus, the 2018 IQVIA data

Allergan purchased does not provide an accurate representation of what Allergan would have

relied on historically prior to 2018 had Allergan actually had this data at that time, and the same

is true of any other defendants who had access to IQVIA data. Keller’s reliance on IQVIA data

that is not based in the real world makes her report inaccurate and unreliable, and as a result, her

opinions based on analysis of that data should be excluded from the jury’s consideration.

         D.       Keller’s Attempt To Trace Mallinckrodt Orders Downstream Is Inadmissible
                  Under FRE 702.

         Recognizing that Mallinckrodt never shipped a suspicious order to Cuyahoga or Summit

County, Plaintiffs ask Ms. Keller to “trace” shipments by distributors to pharmacies in those

counties to certain orders from distributors to Mallinckrodt that were identified by

Mallinckrodt’s internal algorithm as “peculiar.” Their apparent theory is that if Mallinckrodt had

only refused to fill a “peculiar” order for opioids placed by a distributor, that distributor could

not have later shipped opioids to a pharmacy in the Track One jurisdictions.


13
   IQVIA also reported other limitations, including that it “is only able to review what was historically delivered
from its ‘subnational data offerings’ and only for a more limited timeframe than 1998-2018, the period covered by
Judge Polster’s order,” that it “cannot recreate data deliverables specific to opioid products without access to legacy
information from Defendants that is unavailable in most cases,” and that “any recreated list of historic deliverables
would necessarily be incomplete and inaccurate because any post hoc list would reflect only deliverables transmitted
at the end of each calendar year, omitting ad-hoc requests or mid-year contract changes to data offering.” Ex. 12,
Dec. 14, 2018 Letter from J. Davis to P. Weinberger, at 2.



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         Ms. Keller’s effort fails, however, because no data exist that would allow Ms. Keller or

anyone else to “trace” distributor shipments to pharmacies back to orders (peculiar or otherwise)

placed with Mallinckrodt. This leads Ms. Keller to make an arbitrary and unsupportable

assumption: that any shipment by a distributor of a particular product within 30 days of that

distributor placing a “peculiar” order to Mallinckrodt was necessarily fulfilled with bottles

shipped by Mallinckrodt in response to the distributors’ peculiar order. In other words, if the

distributor placed a peculiar order for hydrocodone to Mallinckrodt, every bottle of hydrocodone

that distributor shipped to pharmacies for the next 30 days must have come from the peculiar

order. That assumption is as illogical as assuming that, if Ford sent five Ford Explorers to a

Cleveland dealership on June 1, and the dealership sold a Ford Explorer to a family on June 29,

the family drove home in a car that was part of the June 1 delivery. In fact, of course, the family

may have purchased an Explorer that was delivered to the dealership before or after June 1, as

part of a small (non-peculiar) delivery or a large one. So too here. Ms. Keller simply cannot say

with any reliability which Mallinckrodt shipment provided the product that a distributor later

used to fill an order from a pharmacy in the Track One counties.

         Ms. Keller’s blind speculation that Mallinckrodt’s data could allow someone to trace

bottles from downstream sales through “chargeback data” is refuted by the data itself—and is

certainly not a reliable basis for her opinion. 14 Notably, Ms. Keller did not review

Mallinckrodt’s sales data before opining in her report that Mallinckrodt’s sales could be traced to

later shipments by distributors to pharmacies. Ex. 1, Keller Tr. 350:22-351:22. And even after

reviewing such information when Mallinckrodt’s expert, Edward Buthusiem, submitted his



14
  Chargeback requests typically include information about the distributor, the distributor’s customer, the date of the
sale for which the distributor is requesting a chargeback, the product sold (identified by its NDC code), the quantity
sold, and the price paid by the distributor’s customer. Ex. 13, Buthusiem Rep. ¶ 14.



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report, Ms. Keller could not identify any data allowing the type of tracing she posits. Id. at

351:17-22; 354:15-359:14. Although Ms. Keller speculated that Mallinckrodt sales data might

contain an “order number” allowing one to connect a distributor sale to a pharmacy with a

distributor’s order to Mallinckrodt, id. at 393:3-394:15, she could not point to one. That is

because none exists. As Mr. Buthusiem’s report makes clear, and Ms. Keller does not refute,

“chargeback requests from distributors to manufacturers do not indicate what specific product

inventory (i.e., which particular bottles or packages) the distributor used to fulfill the sale to the

downstream registrant” and do not include information linking the chargeback to a sale by

Mallinckrodt. Ex. 13, Buthusiem Rep. ¶¶ 13-14; Dep. Tr. 350:2-17; 396:21-397:25.

        Unsurprisingly, Ms. Keller’s unjustified assumptions lead to unreliable results. As Mr.

Buthusiem demonstrates, the downstream sales Ms. Keller purports to trace back to peculiar

orders (see Ex. 2, Keller Rep. at Table 74) can just as easily be “traced” to non-peculiar orders

that supplied the same product to the distributor’s inventory. 15 Ex. 13, Buthusiem Rep. ¶ 30.

Ms. Keller’s opinion thus offers no more than blind guesses about whether a particular bottle

shipped by a distributor originated from a particular order. Such unreliable results, based on

unreliable assumptions, must be excluded under Daubert. 509 U.S. at 597 (opinion must have

“reliable” scientific and evidentiary “foundation”); see also General Elec. Co. v. Joiner, 522

U.S. 136, 144-45 (1997) (expert may not base opinion on speculation, conjecture or subjective

belief); Greenwell, 184 F.3d at 497 (expert testimony based on facts that “contradict the

evidence” “is inadmissible”).




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  Ms. Keller testified that she has no expertise in, and did not consider, any distributor’s inventory management
practices or contracts with manufacturers when forming her opinions. Ex. 1, Keller Tr. 365:19-366:17. Indeed, Ms.
Keller’s selection of a 30-day window in attempting to “trace” peculiar orders to downstream sales is inconsistent
with standard distributor management practices. Ex. 13, Buthusiem Rep. ¶¶ 28-29.



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                                                 CONCLUSION

         For the reasons identified above, the Court should exclude Lacey Keller’s testimony in its

entirety.



 Dated: June 28, 2019                                           Respectfully submitted,

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   Teva Pharmaceutical Industries Ltd., Allergan plc, and Mallinckrodt plc are respectively an Israeli corporation,
Irish holding company, and Irish company that are not subject to and contest personal jurisdiction for the reasons
explained in their pending motions to dismiss for lack of personal jurisdiction; they are specially appearing to join
this motion as a result of the Court’s deadline to file dispositive and Daubert motions, and, thus, they do not waive
and expressly preserve their pending personal jurisdiction challenges.



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                                 CERTIFICATE OF SERVICE

       I, Charles C. Lifland, hereby certify that the foregoing document was served on June 28,

2019 via electronic transfer to all counsel of record, consistent with the Court’s order.



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